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  IN TH E U NITED STAT ES DIST RIC T C O U RT SO U TH ER N DIS
                                                                            FILED BY '            D.C.

                                                                                  80k 18 2218
 K ANY A R IK N IG H TS
                         Plaintiff ,
                                                                                  St
                                                                                  c
                                                                                   .z
                                                                                    D.
                                                                                     kO
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                                                                                       t
                                                                                       lFL
                                                                                         lAl
                                                                                           .-
                                                                                            î
                                                                                            MlI
                                                                                              A
                                                                                              t
                                                                                              j
 VS.                                                        C ase N o.:

 TY E RO G ER S O R LAN IS


                         Defendant,




       PLA IN TIFF'S C O M PLA IN T O F D ISC R IM INA TIO N .INJUR Y AN D LO SSES

            CO M ES N OW , Plaintiff, K anyari Knights, by Pro Se, act pursuant to Jurisdiction

 invokes42U.S.C.j 3612in thatPlaintiffelectstoasserthisclaimsofhousingdiscriminationin
 acivilaction;pursuantto28U.S.C.jj 1331and l343(a)(4)in thatthisisacivilaction seeking
 to redress the deprivation ofthe rightto fairhousing pursuantto 28 U.S.C.j 1337 in that
 defendantunfairhousing practicescreatearestrainton commerce,and pursuantto 28U.S.C.jj
 2201and2202 fordeclaratoryandinjunctivereliefagainstDefendantTYE ROGERSORLANIS
 as secured to the Plaintiffby the Fair Housing A ctand the C ivilRightsA ctof 1866.

           Thevenueisproperinthisdistrictpursuantto28U.S.C.jj 1391(b)and 1391(c)inthat
 the claim s arose in this district,and D efendantconductbusiness in this district.

           Plaintiffsstates as follow s'
                                       .

           TheDefendant,TYE ROGERSORLANIS,hasviolated theFairHousingAct(ûtFHA'')
 by not providing habitable living facilities to the Plaintiff w ith bias because of the Plaintiff's

 ethnicity.The D efendanthas also violated the law in engaging in severalactions thatabused the

 Plaintiff s D isability rights.
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                                                  Parties



        Plaintiff,KanyariKnights,isacitizen (by birth)ofthe United Statesand aresidentof
 H ollyw ood,Florida and is 43 years old A frican- Am erican w ith training as a Jew elry D esigner

 and PhysicalExercise Trainer.

        Plaintiff w as illegally evicted from the apartm ent he rented as a result of false pleading

 m ade by the Defendantto the C ounty Courtof Brow ard County,Florida,w ith the assistance of

 his contacts in localgovernm entand through im properpleading and influence.

        Plaintiffw as intim idated and threatened,including being denied continued rentalhousing

 him self,on accountofhis race,and also because he aided and encouraged black persons in the

 exerciseand enjoymentoftheirrightsundertheFairHousing ActandCivilRightsAct.Plaintiff
 w as and continues to be adversely affected by the acts, including being without perm anent

 housing,om issions,policies,and practices ofthe Defendant.

 D efendant,Tye RogersO rlanis entered into a rentalcontractas the ow nerofA partm entlocated

 at520S.19Avenue,Hollywood,FL 33020bearingdescriptionas#Apt7 (rented)tothe
 Plaintiff, how ever,itwas laterrecognized thatthe said apartm entis the property ofBoris

 K ressevich and Susan Kressevich.
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                                       FactualA llezations


        The Plaintiff,KANYARIKNIGHTS,is a Federally certified Disabled person based on

 his visual im painnent entitling him to special provisions as a disabled person under the Fair

 Housing Act. Plaintiff obtain subsistence to cover living expenses from the U nited States

 Governm entSocialSecurity Program

        On Saturday Septem ber 16,2017 the D efendantsoughtto engage in retaliatory action by

 leavinga letter/noticeon thePlaintiffsapartmentdoor(which wasnotduly served)purporting
 to ofticially requestpaym entofone m onth rentalin arrears as a resultof the Plaintiff s issuance

 of notice of w ithholding rent to the D efendant in accordance w ith Florida statutes that the

 plaintiff m ailed to the Defendantvia certified U SPS m ailand fax Septem ber 15,2017.

        Regular A buse w as m ade by the D efendant via tilreats and rem arks of being involved

 w ith the Plaintiff s estranged w ife. The Plaintiff has appraised the local authorities of the

 im properand inhabitable conditionsofthe Apartm ent,which the Defendanthasrented him to be

 Inhabitable and which has resulted in severe exposure and threatofharm by the hunicane during

 the period cited earlier.This was due to the insecurity of the physical conditions of the said

 property.

        The conditions ofthe A partm ent included the A ir Conditioning Unit in Bedroom being

 inoperable,Rodentinfestation,the Screen forrightBedroom window required repairsthatwere

 requested from October 2014,Paint peeling from W all,the Bedroom Door requires repainting,

 Carpet requires replacem ent,the D ining Room W indow is broken and require replacem ent,the

 Stove in need ofreplacem ent,the K itchen lightover sink has no protection,the Kitchen counter

 needs to be replaced,the Kitchen Floor needs repairs,the Livingroom screen is m issing and the

 Porch chairsrem oved since hurricane Irm a,requiresreplacem ent.O ne exhibitattached.

        The facts of the case have dem onstrated that the D efendant continued on his course to

 deny the Plaintiff his federally protected rights.ln fact,he continues to failto acknow ledge the

 illegality ofhisacts.
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                            IntentionalInniction ofEm otionalDistress


                 Asa resultofthedefendant'sactions,the plaintiffhassuffered and iscontinuing

 to sufferinjuryincluding,butnotlimitedto,substantiallossofincomeandlossofbenefits.
                A sa resultofDefendant's actions,the plaintiffhas suffered and iscontinuing to
 suffer

 injuryincludingemotionalpain,suffering,humiliation,inconvenience,mentalanguish,lossof
 enjoymentoflife,andothernon-pecuniary losses(notexcludingrealandotherproperties.)

                Plaintiffseeks redress to the w rongs alleged herein,and this suitfor equitable,

 com pensatory,and punitive dam ages,is plaintiff s only m eans ofsecuring adequate relief.


                                          D isabilitv Law s

 ln general,a landlord cannotevicta person because they have a disability unless the disability is

 causing additionalproblem s forthe landlord.

 ThefederalFairHousingActandFairHousingAmendmentsAct(42U.S.Codejj3601-3619,
 3631)prohibitsdiscrimination againstpeoplewho:
    * haveaphysicalormentaldisabilitythatsubstantiallylimitsoneormoremajorlife
          activities---exam plesinclude,butare notlim ited to:
    * mobilityimpainnent,hearingimpairments,visualimpainnents,chronicalcoholism (ifit
      isbeingaddressedthrougharecoveryprogram),mentalillness,HIV,AIDS,andAIDS-
          Related Com plex,or,m entalretardation,and who,have a history ofsuch a disability,or,
          are regarded by othersasthough they have such an im pairm ent.

 Landlordsare notallowed to question applicantsaboutdisability orillnessorask to see

 M edicalrecords.Even ifitis obviousthatyou are disabled- forexam ple,you use a w heelchair

 orw eara hearing aid itisnevertheless illegalforthe landlord to ask form ore infonnation

 aboutthe disability,including how severely you are disabled.

 The policy behind this rule is sim ple:N o m atterhow well-intentioned the inquiries,a landlord
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 cnnnotmakedecisionsaboutwhereand how you willliveon the property thatthe landlord

 would notm akewereyou notdisabled.

 Forexam ple,ifthereare two unitsforrent--one on theground tloorand onethree storiesup-

 the landlord m ustshow both units to an applicantw ho uses a w heelchair,how everreasonable the

 landlord thinks itw ould be forthe applicantto consideronly the ground-tloorunit.


                                      The Fair H ousinz A ct

    The purpose of the Fair Housing A ctis ûûto provide w ithin constitutionallim itations,for fair

 housing throughoutthe United States''42 U.S.C.j 3601.Therefore,there are twin goalsthat
 mustbeachievedthrough structuring injunctiverelief,and thesegoalsareto insurethattheAct
 is notviolated in the future and to rem ove a1llingering effects ofpastdiscrim ination.M arable v.

 W alker, 704 F.2d 1219, 1221 (11th Cir. 1983) The Fair Housing Act provides for the
                                                      .




 enforcementoftheActby private persons.42 U.S.C.j 3613.The Actprovidesforactualand
 punitivereliefandclearlystatesthatan individualmay seekinjunctiverelief'
                                                                        .
                  m ay grant as relief, as the court deem s appropriate any
                ...


                permanentortemporary injunction,temporaryrestrainingorder,or
                other order (including an order enjoining the Defendant from
                engaging in such practice or ordering such affirm ative action as
                m ay be appropriate...

 42U.S.C.j3613(c)(1).Theinjunctivereliefbeingrequestedinthisorderclearly fallswithinthis
 provision,and the purposeofseeking thisinjunctive reliefisto ensurethatthediscriminatory
 action ofthe D efendantdoes notoccur again.lthasbeen stated thatthe C ourts ûûhave notm erely

 the power but the duty to render a decree which will so far as possible elim inate the

 discrim inatory effectsofthe pastas wellasbarlike discrim ination in the future.''

 Seelnt'lBhd.OfTeamstersv.United States431U.S.324,364(1977).Courtsshouldusetheir
 ûûbroad equitable powers''so as lkto m ake possible the fashioning ofthe m ostcom plete relief

 possible.''Int'lBhd.ofTeam sters,431 U .S.at364.Furtherm ore,the districtcourthasbroad and

 flexible pow erto shape an effective rem edy for fairhousing violations.See Jam es v.Lucas

 M etroHousinmAuthoritv,833 F.2d 1203,1207-08(6th cir1987), UnitedStatesv.City of
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 ParmapOhio,661F2d 562,567(6thcir1981), United Statesv.YonkersBoard ofEducation,
 837F2d 1181(2Cir1987).
         In fashioning equitable relief forthe violation ofthe Fair H ousing A ct,trialcourts are to

 beguidedby itsunderlyingpurposes.Smithv.TownofClarkton,682 F.2d 1055,1068(4th Cir.
 1982).W hen formulating injunctive relief,thecourthasbroad and tlexiblepowersto shape an
 effective rem edy forfairhousing violations.Jaim es v.Lucas M etropolitan Housing Authoritv,

 833 F.2d 1203, 1207 (6th Cir.1987).The courthas a high degree ofdiscretion to choose
 betw een various possible rem edies to equitable fashion relief to fitthe specifc circum stances of

 the case.M arable,704 F.2d at 1221.

         W hen a plaintiff proves a violation of the Fair H ousing A ct, a presum ption of future

 violation andharm arises.SilverSagev.CityofDesertHotSprincs,251F.3d 814,826-827(9th
 Cir.2001).Onceaviolationofthelaw hasbeen found,injunctivereliefisappropriateunlessthe
 Defendant can dem onstrate that (ttthere is no reasonable expectation that the w rong w ill be

 repeated.'The burden is a heavy one.''United States v.W .T.Grant Co.,345 U.S.629,633

 (1953)(Clayton Act),quoting United Statesv.Aluminum Co.ofAmerica,148 F.2d 416,448
 (2d Cir 1945).See also W eeksv.Chaboudv,984 F.2d 185,189-190 (6th cir.1983)(Section
         .




 1983.

 Injunctivereliefisproperinthiscasetopreventf'utureviolationsoftheFairHousing
 Act.In discrim ination cases,ûûthecourthasnotmerely thepowerbutthe duty to rendera decree

 which w illso faras possible elim inate the discrim inatory effectsofthe pastasw ellasbar like

 discrim ination in the future.''Parkview H eights Cop oration v.City ofBlack Jack,605 F.2d

 1033,1035-36(7thCir.1979),quoting AlbemarlePaperv.Moodv,422U.S.405,418-19
 (1975).Inthiscase,theDefendantscannotshow thatthereisareasonablelikelihoodthathis
 discriminatoryconductwillnotberepeated absentaninjunction.Infact,noneoftheDefendants
 took responsibility fortheirconductattrial,norhave they show n any rem orse.This further

 intensifiestheextremeneedforinjunctivereliefasthesecomments,whetherintentionallyor
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 thoughtlessly made,affinnatively furtherthe discriminatory effectsofthedefendant'sactions

 and the elw neousbeliefthatthe defendant'sacts were acceptable,and otherlandlords should do

 the sam e.See,e.g.Parkview HeichtsCom oration v.Citv ofBlack Jack,605 F.2d 1033,1035-36

 (7thCir.1979)(thecourthasnotmerelythepowerbutthedutytorenderadecreewhichwillso
 faraspossible eliminatethediscrim inatory effectsofthepastaswellasbarlikediscrimination

 inthefuture.)
        In lightofD efendant's conduct,this Courtshould exercise itsdiscretion to issue the

 equitable relief.


 The Plaintiff requeststhatDefendantbe prohibited from the follow ing:

        a.D iscrim inating against any person in the term s,conditions, or privileges of

        renting a dw elling unit,or in the provision of services or facilities in connection

        therewith,because ofdisability'
                                      ,and

        b.Causing potentialhann,lim itation ofm obility constituting discrim ination based

        on disability,and intim idating thePlaintiff.


 ln this case,the evidence established thatD efendantengaged in m ultiple and repeated violations

 oftheFairHousingAct,and ageneralinjunction isappropriate.ThePlaintiffalso seeksspecific
 injunctivereliefagainstDefendantthatistailored toward ensuring thatdiscriminatory conduct
 does notoccur again attheirproperties and to elim inate the discrim inatory effects of the pastas

 well as bar like discrim ination in the future. Specitically,the Plaintiff proposes that the Court

 requirethatDefendant,foraperiodoîjiveyears,to dothefollowing:
        (1)Atlend,andrequiretheiragentsandemployeestoattend annualtrainingonthe
        FairH ousing A ct;

        (2)Adoptand implementanondiscriminationpolicy
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        (3)Notifytenantsofthispolicyand oftheirrighttofileacomplaintorto contact
        them directly or contact the Department of Housing and Urban Developm ent

        (ûtHUD'')iftheybelievetheyhavebeendiscriminatedagainst;and
        (4) Amendtheiradvertisingtoincludelanguageregardingnotdiscriminating
        againstpersonsbased on theirprotected status'
                                                    ,

             Conductaffirm ative outreach to localcom m unity service organization that

        provide services to personsw ith disabilitiesin Florida.

        (5) Placingone legalnoticein thelocalNews relating totheprohibitionsofthe
        Fair H ousing A ct and providing inform ation regarding filing a com plaint under

        the act,in the fonn as attached to the proposed order;

        (5)RequirereportingofallFairHousingcomplaintsandundergoingtestingona
        bi-annualbasis to ensure com pliance w ith the Order.

        1.     A nnualTraining

        The Court should require Defendant, and all of their ow ners, officers, agents, and

 em ployees to undergo annualeducation and training on the Fair H ousing A ct.See e.g.,Citv of

 Panna.66lF.2d at577 (requiringcity to implementeducationalprogram toacquaintemployees
 with their obligations tmderremedialorder).Every year,the employee,managers,corporate
 officers,and ow ners should also be required to sign an acknow ledgm ent that they w ill com ply

 w ith the FHA and w ith D efendants'policy on nondiscrim ination.Such m easures are particularly

 im portant in this case,as the Defendant's m anagers had testified thatthey had received training

 on the Fair H ousing A ct,but nonetheless continued to discrim inate against the plaintiffs with

 m alice or deliberate indifference to their protected rights, and continue to believe that their

 actionswerejustifiedbytheirmythsandstereotypesofpersonswithdisabilities.Suchtraining
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 should bedone by the FairHousing Continuum,lnc.,asthe localHuD-funded FairHousing

 Organization forFairHousing Education and Outreach.The costofsuch seminarswillnot

 exceed $500.00 peryear,notincluding thecostsofthe location in which the sem inarisheld.
                N on-Discrim ination Policy

 Second,the Courtshould require Defendantto adoptand im plem enta written N ondiscrim ination

 PolicyforaIlresidentialpropertiesDefendantownormanage.W ithinthirty (30)daysoftheentry of
 thisOrder,Defendantshalldistribute a copy oftheNondiscrim ination Policy and a copy ofthe HUD

 booklet,çtlrairHousing:EqualOpportunity forAlI,''to each household occupying any rentaldwelling that

 eitherofthem own,operate ormanage,and shallprovideto counselforthe Plaintiffsa statement

 certifying underpenaltyofperjury thatthey havedistributed theNondiscriminationPolicyandtheHUD
 booklet.Thereafter,Defendantsshallprovide acopy ofthe Nondiscrim ination Policy and theHUD

 bookletto each new household occupying any rentaldwelling thateitherofthem own,operate,or

 manageatorbeforethetimethattheresidentts)signaIeaseorotherwisetakepossessionofthedwelling.
 Defendantsshould distribute this policy,along with a pam phletfrom H UD,describing the Fair

 Housing Actand itsenforcem entprovisionsto alltenantsduring the term ofthis Order.The Policy

 should also invite tenantsto contactthe Defendant,orHU D directly ifthey believe they have

 experienced orw itnessed unlawfuldiscrim ination.

        N ondiscrim ination policiesare an im portantcom ponentofFH A rem edialorders.See,

 e.g.,Citv ofPanna 661 F.2d at577.Reporting and recordkeeping requirem entshave been

 upheld anum beroftimesby courtsasbeing an importantcomponentofFHA remedialorders.

 Seee.g.,UnitedStatesv.W estPeachtreeTenthCop.,437F.2d230-31(5thCir.1971)
 (requiringDefendantstomaintainrecordsandtilereportsofcompliancewiththeUnitedStates
 atthree-month intervalsl;JamestownCtr.-ln-The-GroveApts.,557F.2d 1079,1080-81(5thCir.
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  1977)(directingthedistrictcourttoimposeadditionalinjunctiverelief,includingrecord-keeping
 andreportingrequirementsl;United Statesv.Brosh,No.02-CV-0368-DRH,at13(S.D.111.Nov.
 20,2003)(memorandum andorder)(requiringDefendantstoretaincertainrecordsandtomake
 them availabletocounselfortheUnited Statesand HUD).
        A doption ofa nondiscrim ination policy,notice to tenants,and reporting requirem ents are

 particularly necessary here,w here the lack of such a policy and requirem ents contributed to the

 discrim ination and hanu in this case.A dopting and establishing a nondiscrim ination policy

 ensuresthatf'
             uturetenantsareinformedoftheirrightsnotbediscriminated againstatthesubject
 propertiesand w illknow how to contactH UD orthe Fair H ousing Continuum ifthere is a

 problem .

        3.        A dvertising and O utreach

        Itis the duty ofthis Courtto render a decree w hich w illso far as possible elim inate the

 discrim inatory effects of the past as w ell as bar like discrim ination in the future. Parkview

 HeightsCorporation v.City ofBlack Jack,605 F.2d 1033,1035-36 (7th Cir.1979),quoting
 Albemarle Paper v.M oodv,422 U.S.405,418-19 (1975).In this matter,the Defendant is
 unapologetic to the point in w hich their agent continues to espouse statem ents in the local

 com m unity w hich continue the discrim inatory effect of their behavior past the m ore than 100

 units that the D efendant operates in the Daytona area. By publishing the legal notice in the

 Daytona Beach News Journal,as attached to the Order as Appendix A, it is an inexpensive

 method ofthis defendantto notify the publicthatitsillegalbehavioris notjustified by good
 intentions and that the D efendant is required to com ply with the law . Further, it serves as a

 m ethod to elim inate the discrim inatory effects ofsuch statem entson otherhousing providers

        4.        R edress

         Plaintiff seeks to obtain redress the w rongs alleged herein, and this suit for equitable,

        com pensatory, and punitive dam ages, is plaintiff s only m eans of securing adequate

        relief.

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                                               CountI



       V iolations ofthe Fair H ousing A ct

       Plaintiffsrepeatand reallege each preceding paragraph as iffully setforth herein.

       Defendants,in violationof42U.S.C.j3604,havediscriminatedagainstPlaintiff
       because ofhis race.

       Defendants,inviolationof42U.S.C.j3617,havediscriminatedagainstPlaintiff
       having aided orencouragedblackpersonsinexerciseandenjoymentoftheirrightsunder
       the Fair Housing A ct.

       Defendant'sviolationsof42U.S.C.jj3604and 3617havealsocausedharm to Plaintiff
       Defendant, Tye Rogers Orlanis, is the operator of Apartm ent located at 520           19

       A venue, H ollyw ood, FL 33020 bearing description as # A pt 7 rented to the Plaintiff,

       which isowned by BorisKressevich and Susan Kressevich and isliable fortheviolation

       ofPlaintiffs'rightsunder42 U.S.C.jj 3604 and 3617,because,atalltimes relevant
       hereto,Defendantwasacting (a)attheexpressdirection of,and/or(b)with theconsent
       of,and/or(c)underthecontroland supervision of,and/or(d)within hisauthority asan
       agent of Boris K ressevich and Susan Kressevich, is also liable for the violation of

       Plaintiffs'rightsunder42U.S.C.jj3604 and 3617,because,atal1timesrelevanthereto,
       Defendantwas acting (a)atthe express direction of,and/or (b) with the consentof,
       and/or(c)underthecontroland supervisionof,and/or(d)within hisauthorityasanagent
       andisliablefortheviolationofPlaintiffs'rightsunder42U.S.C.jj3604 and3617.
        133. Defendant while acting as the agent of the property is liable for the violation of

       Plaintiffsrightsunder42U.S.C.j3604.
                                              C ount11

       Violation ofthe CivilR ights A ctof 1866

                      Plaintiffsrepeatand reallege each preceding paragraph as iffully setforth
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       herein.

        Defendants'pattern,practice,and policy ofdiscrim ination have denied Plaintiff

       thesamerightsenjoyedby non-Blackcitizenstocontractforandtoleaserealproperty in
        violationof42U.S.C.jj1981and 1982.
        Defendants,in violation of 42 U.S.C.jj 1981 and 1982,have discriminated against
        PlaintiffSmithbydenyinghim enjoymentofhisrightsundertheCivilRightsAct.
        Defendant'sviolationsof42U.S.C.jj 1981and 1982,havecausedharm toPlaintiff.
        Defendant,operatorofthe property is liable for the violation ofPlaintiffs'rights under42

        U.S.C.jj1981and 1982.
        Defendantwas acting (a)atthe express direction of,and/or(b) with the consentof,
        and/or(c)underthecontroland supervisionof,and/or(d)within hisauthorityasanagent
        ofthe O w ner.

        DefendantisalsoliablefortheviolationofPlaintiffs'rightsunder42U.S.C.jj 1981and
        1982,because,ata11timesrelevanthereto,Defendantwasacting(a)atthe
        express direction of,and/or (b)with the consentof,and/or(c)under the controland
        supervisionof,and/or(d)withinhisauthorityasan agentoftheOwnersoftheProperty.
        Defendant,while acting asthem anagerand agentofthe property owner,isliable forthe

        violation ofPlaintiffs'rightsunder42U.S.C.jj 1981and 1982.
        Defendant while acting as the agent of the property ow ner,is liable for the violation of

        Plaintiffs'rightsunder42U.S.C.jj 1981and 1982.
                                             R elief Souzht

        W H EREFO RE,Plaintiffs respectfully requestthatthe Court:

        A .declare the actionsofD efendantcom plained ofherein to be in violation ofthe Fair

        HousingAct,asamended,42U.S.C.j3601,etseq.andtheCivilRightsActof1866,
        42U.S.C.jj1981and 1982;
        B.orderD efendantto take appropriate affirm ative actionsto ensure thatthe activities
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       com plained ofabove are notengaged in again by him orany ofhis agents'
                                                                            ,

       C.permanentlyenjoinDefendant,theiragents,employees,andsuccessorsfrom
       discrim inating on thebasisofrace againstany personsin violation ofthe Fair

       H ousing A ctof 1965 orthe C ivilRightsA ctof 1866;

       D .aw ard com pensatory and punitive dam agesto PlaintiffagainstDefendants,to

       com pensate Plaintiff for,am ong otherthings,the hum iliation,em banussm ent,

       and em otionaldistresscaused by D efendant''discrim inatory actions,and lossof

       equalhousing rights;

       E.aw ard com pensatory and punitive dam agesto Plaintiff againstthe D efendantto

       com pensate Plaintiff for,am ong otherthings,the drain on hisresourcesthatcan be

       attributed to the frustration ofPlaintiff

       F.aw ard appropriate punitive and com pensatory dam agesto Plaintiffand against

       Defendantfor,am ong otherthings,the m entaland em otionaldistress,hum iliation,and

       embarrassm entsuffered by Plaintiff becauseofDefendants'discrim inatorypractices,

       which directly affecthis rights;aw ard costs and reasonable fees in this action;and

       PlaintiffsuchotherandfurtherreliefastheCourtdeemsjustandproper.
       G.Issueadeclaratoryjudgmentholdingthattheactionsofthedefendantsviolatedthe
       rightsofplaintiffunderFederallaw .

       H .Enteran orderrequiring the defendants to m ake plaintiffw hole by aw arding plaintiff

       equitable(includingbackpayandfrontpay)damages,compensatorydamages,treble
       dam ages,and punitive dam ages,coststo include costs ofinvestigation,fees,expenses,

       andpre-judgmentandpost-judgmentinterest.
              Plaintifffurtherpraysforsuch otherreliefand benefitsasthecauseofjusticemay
              require.

         1.Com pensatory dam ages in the am ountofseven hundred and fifty thousand dollars

         2.Punitive dam ages'
                            ,
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             3.lnterestasallowed by law;

             4.Costs ofsuit;and

             5.Suchotherandfurtherreliefasthiscourtmaydeem justandproper.


           W H ER EFO RE,Plaintiff,KEN YA RIK N IGH TS,respectfully requestthatthis Court

  enterJudgm entpursuantto trialagainstD efendant,TY E RO G ER S O RLAN IS and order

  the legalequitable reliefsetforth,and furtherreserveenteran orderon thePlaintiffsfeesand

  costs.

           Respectfullysubmittedthis 1% dayot- /)j:. ,2019.
                                                              R espectfully subm itted,
                                                                   .              /1

                                                                                       (
                                                                           N
                                                                   #
                                                         '.
                                                          '
                                                                       <       Kan riK nights,Pro Se



                                  CERTIFIC-ATE OF SERVICE




           IHEREBYCERTIFYthatonj/,qY l2019,lhavefiledtheforegoingdocument
           w ith the Court.Ialso certify thatthe foregoing docum entisbeing served thisday on the

           Defendantasfollow s:


           Tye R ogerO rlanis
           424 S 13 Avenue,
           Hollyw ood,FL 33019




                                                                               Kany 'K nights,Pro Se


                                                                           P.O .Box 220332
                                                                       Hollyw ood,FL 33022

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                                   A ttachm ent

                                    Exhibit1.
